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                EXHIBIT 10
                      to
                Declaration of
                Edward Diver
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                                 #:24467

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·1· · · · · · · · · UNITED STATES DISTRICT COURT

·2· · · · · · · · ·CENTRAL DISTRICT OF CALIFORNIA

·3

·4· ·IN RE:· NATIONAL FOOTBALL· · )
· · ·LEAGUE'S "SUNDAY TICKET"· · ·)
·5· ·ANTITRUST LITIGATION· · · · ·)
· · · · · · · · · · · · · · · · · )
·6· ·_____________________________)
· · · · · · · · · · · · · · · · · )
·7· · · · · · · · · · · · · · · · ) NO. 2:15-ml-02668-PSG(JEMx)
· · · · · · · · · · · · · · · · · )
·8· ·THIS DOCUMENT RELATES TO:· · )
· · ·ALL ACTIONS· · · · · · · · · )
·9· · · · · · · · · · · · · · · · )
· · ·_____________________________)
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15· · · · · · · ·VIDEOTAPED IN-PERSON DEPOSITION OF
· · · · · · · · · · · · · · JASON BAKER
16· · · · · · THE MUCKY DUCK PURSUANT TO RULE 30(b)(6)
· · · · · · · · · · · ·FRIDAY, JULY 15, 2022
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· · ·STENOGRAPHIC REPORTER:· CHRISTA YAN, CSR NO. 14316
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                                      30(b)(6)                      July 15, 2022

                                                                           2
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· · · · ·mwarren@wilkinsonstekloff.com
17

18
· · ·ALSO PRESENT IN-PERSON:
19· ·ANTONIO WOODWARD, The Videographer

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·1· · ·BE IT REMEMBERED that on FRIDAY, the 15th day of JULY

·2· · · · 2022, at the hour of 9:08 A.M., of said day, at

·3· · · · 600 Montgomery Street, Suite 300, San Francisco,

·4· · ·California 94111, before me in-person, CHRISTA YAN, a

·5· · · ·Certified Shorthand Reporter, State of California,

·6· · ·personally appeared JASON BAKER, who was examined as a

·7· · ·witness in said cause; that said transcript format was

·8· ·prepared in accordance with California Code of Regulations

·9· · · · · · · · · · · · section 2473.

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·1· · · ·THE VIDEOGRAPHER:· Good morning, we are now on the

·2· ·record.· My name is Antonio Woodward.· I'm the

·3· ·videographer retained by Lexitas.· This is the video

·4· ·deposition for the United States District Court, Central

·5· ·District of California.· Today's date is seven -- excuse

·6· ·me, July 15, 2022, and the time is 9:08 a.m., Pacific

·7· ·Daylight time.

·8· · · · · · This deposition is being held at 600 Montgomery

·9· ·Street, Suite 300, San Francisco, 94111.· In re:· National

10· ·Football League's Sunday Ticket Antitrust Litigation.· The

11· ·deponent is Jason Baker with The Mucky Duck Pub 30(b)(6).

12· · · · · · Will counsel in the conference please identify

13· ·yourselves and state whom you represent, beginning with

14· ·the questioning attorney.

15· · · ·MR. MUNGAI:· Good morning.· My name is Justin Mungai.

16· ·I'm an attorney at Wilkinson Stekloff, and I represent the

17· ·NFL defendants.

18· · · ·MR. NEAL:· Hi, my name is Blake Neal.· I'm with

19· ·Wilkinson Stekloff, and I also represent the NFL

20· ·defendants.

21· · · ·MR. ALBERT:· Lee Albert from Glancy Prongay & Murray.

22· ·I represent the class plaintiffs and Mucky Duck.

23· · · ·MR. MIRZADEH:· Farhad Mirzadeh with the law firm

24· ·Hausfeld for the plaintiffs.

25· · · ·THE VIDEOGRAPHER:· The court reporter today is Christa


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·1· ·Yan representing Lexitas.· And the court reporter will now

·2· ·swear in the witness.

·3· · · · · · · · · · · · ·JASON BAKER,

·4· ·the Witness, called on behalf of the Defendants, being

·5· ·duly sworn to state the truth, the whole truth, and

·6· ·nothing but the truth, testified on oath as follows:

·7· · · · · · · · · · · · · EXAMINATION

·8· ·BY MR. MUNGAI:

·9· · · ·Q· · All right.· Good morning.· I just introduced

10· ·myself on the record again.· But just to go through it

11· ·again.· My name is Justin Mungai and I'm an attorney for

12· ·the NFL defendants.

13· · · · · · Can you please state your full name for the

14· ·record?

15· · · ·A· · Jason Baker.

16· · · ·Q· · And Mr. Baker, you understand that you are here

17· ·to testify on behalf of Mucky Duck as a corporate

18· ·deponent?

19· · · ·A· · I do.

20· · · ·Q· · Have you been deposed before; you, Jason Baker?

21· · · ·A· · No.

22· · · ·Q· · Has The Mucky Duck been a deponent?

23· · · ·A· · No.

24· · · ·Q· · Okay.· And you understand that you're here for a

25· ·case that was brought by The Mucky Duck against the NFL


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·1· · · ·A· · I am not -- sorry, I am not.

·2· · · ·Q· · Okay.· Let's talk a little bit about hockey.

·3· · · · · · You displayed the NHL on your TVs, right?

·4· · · ·A· · Not anymore.

·5· · · ·Q· · Not anymore.

·6· · · · · · When did you stop?

·7· · · ·A· · Five years ago.

·8· · · ·Q· · Why did you stop?

·9· · · ·A· · Approximately.· Nobody watched.

10· · · ·Q· · When you did show it, you had a subscription to

11· ·NHL Center Ice, right?

12· · · ·A· · Yes.

13· · · ·Q· · And that's the out-of-market package for NHL

14· ·hockey, right?

15· · · ·A· · Yes.

16· · · ·Q· · And as far as you know, hockey games were not

17· ·being carried on CBS, Fox, NBC, or ABC during the regular

18· ·season, right?

19· · · ·MR. ALBERT:· Objection; form.

20· · · ·THE WITNESS:· As far as I know.

21· ·BY MR. MUNGAI:

22· · · ·Q· · All right.· Let's talk a little bit about

23· ·baseball.

24· · · · · · You displayed the MLB on your televisions, right?

25· · · ·A· · Yes.


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·1· · · ·Q· · Still today?

·2· · · ·A· · Still today.

·3· · · ·Q· · Do you show the games of multiple teams in the

·4· ·MLB?

·5· · · ·A· · Yes.

·6· · · ·Q· · And in order to do that, you subscribe to Extra

·7· ·Innings, MLB Extra Innings?

·8· · · ·A· · Yes.

·9· · · ·Q· · And just for the record, MLB Extra Innings is the

10· ·out-of-market sports package for baseball?

11· · · ·A· · Yes.

12· · · ·Q· · Have you been a subscriber for Extra Innings from

13· ·2011 to the present?

14· · · ·A· · Yes.

15· · · ·Q· · And as far as you know, baseball games -- MLB

16· ·baseball games are not shown on CBS, NBC, Fox, during the

17· ·regular season of baseball, right?

18· · · ·A· · They are on Fox.

19· · · ·Q· · How often are they shown on Fox?

20· · · ·A· · Saturdays.

21· · · ·Q· · Okay.· Are there MLB games -- actually, strike

22· ·that.

23· · · · · · In the class period between 2011 to present,

24· ·Mucky Duck was also subscribed to something called ESPN

25· ·Game Plan; is that right?


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·1· · · · · · · · · · · REPORTER'S CERTIFICATE

·2· · · ·I, Christa Yan, CSR No. 14316, do hereby declare:
· · · · ·That, prior to being examined, the witness named in
·3· ·the foregoing deposition was by me duly sworn remotely
· · ·pursuant to Section 30(f)(1) of the Federal Rules of Civil
·4· ·Procedure, and the deposition is a true record of the
· · ·testimony given by the witness as accurately as possible.
·5· ·That said deposition was taken down by me in shorthand at
· · ·the time therein named and thereafter reduced to text
·6· ·under my direction.
· · · · ·___· That said witness was requested to review the
·7· ·transcript and make any changes to the transcript as a
· · ·result of that review pursuant to Section 30(e) of the
·8· ·Federal Rules of Civil Procedure.
· · · · ·___· No changes have been provided by the witness
·9· ·during the period allowed.
· · · · ·___· The changes made by the witness are appended to
10· ·the transcript.
· · · · ·___· No request was made that the transcript be
11· ·reviewed pursuant to Section 30(e) of the Federal Rules of
· · ·Civil Procedure.
12· · · ·I further declare that I have no interest in the
· · ·event of the action.· I declare under penalty of perjury
13· ·under the laws of the United States of America that the
· · ·foregoing is true and correct.
14· · · ·WITNESS my hand this 17th day of July 2022.

15
· · · ·_________________________________
16· · ·Christa Yan, CSR NO. 14316

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